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UNlTED STATES DlSTR|CT COURT
DlSTRlCT OF CONNECTICUT

 

Beatrlce Luna. § civil Action No.:

Plaintiff,
v.

Edison, Patrick & Associates, lnc.; and COMPLA|NT

DOES 1-10, inclusive, .
§ oecembems, 2010

Defendants.

 

For this Comp|aint, the Plaintiff, Beatrice Luna, by undersigned counsel,

states as follows:

JURISD|CT|ON

1. This action arises out of Defendants’ repeated violations of the Fair
Debt Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), and the
invasions of Plaintiff’s personal privacy by the Defendants and their agents in
their illegal efforts to collect a consumer debt.

2. Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.

3. Venue is proper in this District pursuant to 28 U.S.C. § 1391(|0), in
that the Defendants transact business in this District and a substantial portion of

the acts giving rise to this action occurred in this District.

PARTlES

4. The Plaintiff, Beatrice Luna (“Pfaintiff”), is an adult individual
residing in Bridgeport, Connecticut, and is a “consurner” as the term is defined

by 15 u.s.c. § 1692a(3).

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5. Defendant Edison, Patrick & Associates, lnc. (“Edison"), is a F|orida
business entity with an address of 4446-'lA Hendricks Avenue, Suite 375,
Jacksonviile, Florida 32207, operating as a collection agency, and is a “debt
co|iector” as the term is defined by 15 U.S.C. § 1692a(6).

6. Does 'i-10 (the “Co|iectors”) are individual collectors employed by
Edison and whose identities are currently unknown to the Piaintiff. One or more
of the Col|ectors may be joined as parties once their identities are disclosed
through discovery.

7. Edison at ali times acted by and through one or more of the

Coilectors.

ALLEGAT|ONS APPL|CABLE TO ALL COUNT§
A. The Debt

8. The Plaintiff incurred a financial obligation (the “Debt") to a creditor
(the “Creclitor”).

9. 'l'he Debt arose from services provided by the Creditor which were
primarily for fami|y, personal or household purposes and which meets the
definition of a “debt” under 15 U.S.C. § 1692a(5).

10. The Debt was purchased, assigned or transferred to for collection,
or was employed by the Creditor to collect the Debt.

11. The Defendants attempted to coilect the Debt and, as such, engaged

in “communications" as defined in 15 U.S.C. § 1692a(2).

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B. Edison Engaqe§ in l-iarassment and Abusive Tactics

12. Defendants called Plaintiff’s work phone line in an attempt to collect
the debt with the intent to annoy and harass. Piaintiff requested that defendants
cease calls to work. Defendants failed to do so.

13. Defendants failed to identify themselves when speaking to Plaintiff.

14. Defendants accused Plaintiff of issuing bad checks and attempting
to defraud a bank.

15. Defendants threatened to arrest the Plaintiff and Plaintiff’s co-worker
if Plaintiff did not pay the Debt.

16. Police officer summoned by Plaintiff witnessed Defenclants’ threats
to Plaintiff.

17. Defendants stated that Piaintiff had committed a "no bond offense"
and that Plaintiff had to spend thirty (30) days in jail for non-payment of the Debt
with no bail.

18. Defendants attempted to charge legal fees to the Debt.

19. Defendants failed to inform Plaintiff that the communication was an
attempt to collect a debt and everything Plaintiff said would be used for that
purpose.

20. Defendants faiied to inform Plaintiff of her rights under the state and
federal laws by written correspondence within 5 days after the initial
communication, including the right to dispute the Debt. Defendants stated that

they were not required to send one.

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C. Plaintiff Suffered Actual Damages

21. The Plaintiff has suffered and continues to suffer actual damages as
a result of the Defendants’ unlawful conduct.

22. As a direct consequence of the Defendants’ acts, practices and
conduct, the Plaintiff suffered and continues to suffer from humiliation, anger,
anxiety, emotional distress, fear, frustration and embarrassment

23. The Defendants’ conduct was so outrageous in character, and so
extreme in degree, as to go beyond all possible bounds of decency, and to be

regarded as atrocious, and utterly intolerable in a civilized community.

COUNT l
VlOLAT|ONS OF THE FDCPA 15 l§.C. § 1692. et Se€l.

24. The Plaintiff incorporates by reference all of the above paragraphs of
this Complaint as though fully stated herein.

25. The Defendants’ conduct violated 15 U.S.C. § 1692c(a)(1) in that
Defendants contacted the Plaintiff at a place and during a time known to be
inconvenient for the Plaintiff.

26. The Defendants’ conduct violated 15 U.S.C. § 1692c(a)(3) in that
Defendants contacted the Plaintiff at his place of employment, knowing that the
Plaintiff’s employer prohibited such communications.

27. The Defendants’ conduct violated 15 U.S.C. § 1692d(5) in that
Defendants caused a phone to ring repeatedly and engaged the Plaintiff in
telephone conversations, with the intent to annoy and harass.

28. The Defendants’ conduct violated 15 U.S.C. § 1692d(6) in that

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Defendants placed calls to the Plaintiff without disclosing the identity of the debt
collection agency,

29. The Defendants’ conduct violated 15 U.S.C. § 16929(2) in that
Defendants misrepresented the character, amount and legal status of the Debt.

30. The Defendants’ conduct violated 15 U.S.C. § 1692e(4) in that
Defendants threatened the Plaintiff with imprisonment if the Debt was not paid.

31. The Defendants’ conduct violated 15 U.S.C. § 1692e(7) in that
Defendants falsely misrepresented that the Plaintiff had committed a crime, in
order to disgrace the Plaintiff.

32. The Defendants’ conduct violated 15 U.S.C. § 1692e(10) in that
Defendants employed false and deceptive means to collect a debt.

33. The Defendants’ conduct violated 15 U.S.C. § 1692e('l1) in that
Defendants failed to inform the consumer that the communication was an attempt
to collect a debt.

34. The Defendants’ conduct violated 15 U.S.C. § 16929(a)(1) in that
Defendants failed to send the Plaintiff a validation notice stating the amount of
the Debt.

35. The Defendants’ conduct violated 15 U.S.C. § 16929(a)(2) in that
Defendants failed to send the Plaintiff a validation notice stating the name of the
original creditor to whom the Debt was owed.

36. The Defendants’ conduct violated 15 U.S.C. § 16929(a)(3) in that
Defendants failed to send the Plaintiff a validation notice stating the Plaintist

right to dispute the Debt within thirty days.

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37. The Defendants’ conduct violated 15 U.S.C. § 1692g(a)(4) in that
Defendants failed to send the Plaintiff a validation notice informing the Plaintiff of
a right to have verification and judgment mailed to the Plaintiff.

38. The Defendants’ conduct violated 15 U.S.C. § 1692g(a)(5) in that
Defendants failed to send the Plaintiff a validation notice containing the name and
address of the original creditor.

39. The foregoing acts and omissions of the Defendants constitute
numerous and multiple violations of the FDCPA, including every one of the
above-cited provisions

40. The Plaintiff is entitled to damages as a result of Defendants’

violations.

COUNT |l
lNVAS|ON OF PR|VACY §Y lNTRUSlON UPON SECl_USiQ§

41. The Plaintiff incorporates by reference ali of the above paragraphs of
this Complaint as though fully stated herein.

42. The Restatement of Torts, Second, § 652(b) defines intrusion upon
seclusion as, “One who intentionally intrudes...upon the solitude or seclusion of
another, or his private affairs or concerns, is subject to liability to the other for
invasion of privacy, if the intrusion would be highly offensive to a reasonable
person.”

43. Connecticut further recognizes the Plaintiff’s right to be free from
invasions of privacy, thus the Defendants violated Connecticut state law.

44. 'l'he Defendants intentionally intruded upon Plaintiff’s right to privacy

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by continually harassing the Plaintiff with phone calls to her home and by
threatening to come to her home to seize her personal belongings.

45. The telephone calls made by the Defendants to the Plaintiffs were so
persistent and repeated with such frequency as to be considered, “hounding the
plaintiff,” and, “a substantial burden to her existence," thus satisfying the
Restatement of Torts, Second, § 652(b) requirement for an invasion of privacy.

46. The conduct ofthe Defendants in engaging in the illegal collection
activities resulted in multiple invasions of privacy in such a way as would be
considered highly offensive to a reasonable person.

47. As a result of the intrusions and invasions, the Plaintiff is entitled to
actual damages in an amount to be determined at trial from the Defendants.

48. All acts of the Defendants and its agents were committed with
malice, intent, wantonness, and recklessness, and as such, the Defendants is

subject to punitive damages.

COUNT ll|

VlOLAT|ONS OF Tl-iE CONN§CT|C\_JT_UNFA|R 'l'RAlLEll PRACT|CES ACT,
Conn. Gen. Stat. § 42-110§, et segl

49. The Plaintiff incorporates by reference all of the above paragraphs of
this Complaint as though fully stated herein.

50. The Defendants are each individually a “person” as defined by Conn.
Gen. Stat. § 42-110a(3).

51. The Defendants engaged in unfair and deceptive acts and practices
in the conduct of its trade, in violation of Conn. Gen. Stat. § 42-110b(a).

52. The Plaintiff is entitled to damages as a result of the Defendants’

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violations.

COUNT lV
lNTENT|ONAL iNF§!CTiON OF EMOTlONAL Q_l§TR|§__§

53. The Plaintiff incorporates by reference all of the above paragraphs of
this Complaint as though fully set forth herein at |ength.

54. The acts, practices and conduct engaged in by the Defendants vis-a-
vis the Plaintiff was so outrageous in character, and so extreme in degree, as to
go beyond all possible bounds of decency, and to be regarded as atrocious, and
utterly intolerable in a civilized community.

55. The foregoing conduct constitutes the tort of intentional infliction of
emotional distress under the laws of the State of Connecticut.

56. All acts of the Defendants and the Collectors complained of herein
were committed with malice, intent, wantonness, and recklessness, and as such,

the Defendants are subject to imposition of punitive damages.

COUNT V
COMN|ON LAW FRAUD

57. The Plaintiff incorporates by reference all of the above paragraphs of
this Complaint as though fully stated herein.

58. The acts, practices and conduct engaged in by the Defendants and
complained of herein constitute fraud under the Common Law of the State of

Connecticut.

59. The Plaintiff has suffered and continues to suffer actual damages as

a result of the foregoing acts and practices, including damages associated with,

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among other things, humiliation, anger, anxiety, emotional distress, fear,

frustration and embarrassment caused by the Defendants. All acts of the

Defendants and the Collectors complained of herein were committed with malice,

intent, wantonness, and recklessness, and as such, the Defendants are subject to

punitive damages.

PRAYER FOR REL|EF

WHEREFORE, the Plaintiff prays that judgment be entered against the

Defendants:

. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1) against the

Defendants;

. Statutory damages of $1,000.00 pursuant to 15 U.S.C.

§1692k(a)(2)(A) against the Defendants;

. Costs of litigation and reasonable attorney’s fees pursuant to 15

U.S.C. § 1692k(a)(3) against the Defendants;

. Actual damages pursuant to Conn. Gen. Stat. § 42-110g;

. Actual damages from the Defendants for the all damages

including emotional distress suffered as a result of the
intentiona|, reckless, andlor negligent FDCPA violations and
intentionai, reckless, and/or negligent invasions of privacy in an

amount to be determined at trial for the Plaintiff;

. Punitlve damages; and

. Such other and further relief as may be just and proper.

TR|AL BY JURY DEN|ANDED ON ALL COUNTS

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Dated: Decernber15, 2010

Resp7tful|yé‘7bmitted,
By €N

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